231 F.2d 667
    UNITED STATES of America, Appellant,v.Clarence LINDLEY et al.
    No. 15406.
    United States Court of Appeals Eighth Circuit.
    March 21, 1956.
    
      Clinton G. Richards, U.S. Atty., Sioux Falls, S.D., Perry W. Morton, Asst. Atty. Gen., and Roger P. Marquis, Chief, Appellate Section, Lands Division, U.S. Department of Justice, Washington, D.C., for appellant.
      M. Q. Sharpe, Kennebec, S.D., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant.
    
    